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11

12                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
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     JUNHAN JEONG, individually and on behalf of   Case No.: 5:21-CV-02392-BLF
15   all others similarly situated,
                                                   ATTORNEY DECLARATION OF
16                            Plaintiff,           EDWARD NORMAND IN
                                                   OPPOSITION TO DEFENDANT’S
17                       v.                        MOTION TO DISMISS AND/OR
                                                   STRIKE
18
     NEXO CAPITAL INC.,
                                                   Date:      February 23, 2022
19                                                 Time:      9:00 a.m.
                              Defendant.           Courtroom: 3, 5th Floor
20                                                 Judge:     Hon. Beth Labson Freeman
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     DECLARATION OF EDWARD NORMAND IN OPPOSITION TO DEFENDANTS’ MOTION
                 TO DISMISS AND/OR STRIKE – No. 5:21-cv-02392-BLF
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 1                              DECLARATION OF EDWARD NORMAND
 2          I, Edward Normand, declare:
 3          1.     I am an attorney admitted in New York and pro hac vice to appear before this Court.
 4   I am a partner with the law firm Freedman Normand Friedland LLP (f/k/a Roche Freedman LLP)
 5   (“FNF”), counsel to Plaintiff in this action. I submit this declaration on my own personal knowledge.
 6   If called to testify to the matters herein, I could and would competently do so.
 7          2.     I submit this declaration in opposition to Defendant’s Motion to Dismiss and/or Strike
 8   Class Allegations.
 9          3.     To the best of my knowledge, FNF (including its predecessors) has never filed a class
10   action at the direction of or for the benefit of any entity (client or otherwise) not named a party. Nor
11   have, to the best of my knowledge, any attorneys at the Firm disclosed or used, for any collateral
12   purpose, any confidential information obtained in connection with any lawsuit.
13          4.     Roche Freedman LLP filed this action on behalf of Plaintiff because we believe that
14   it is meritorious, and because we believe that Plaintiff and the proposed class suffered substantial
15   economic harm.
16          5.     FNF has invested significant time and resources into this action. We have, for
17   example, (i) conducted extensive factual and legal research, (ii) drafted a detailed complaint and
18   amended complaints, (iii) and successfully opposed Defendant’s multiple motions to dismiss.
19          6.     I have never spoken with anyone from Ava Labs about any prospective litigation or
20   about this action. FNF no longer represents Ava Labs (but does represent an Ava Labs principal in
21   a defamation case he has brought).
22          7.     Following the release of the CryptoLeaks videos, Mr. Roche withdrew from this
23   matter, as well as the Firm’s class action practice. As of October 17, 2022, Mr. Roche is no longer
24   a member of FNF and is no longer associated with the Firm.
25          8.     To the extent that Mr. Roche’s statements suggest that he believes jurors or class
26   members are “idiots,” FNF does not agree with that view, nor does it believe that such statements
27   reflect Mr. Roche’s true view.
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     DECLARATION OF EDWARD NORMAND IN OPPOSITION TO DEFENDANT’S MOTION
                 TO DISMISS AND/OR STRIKE – No. 5:21-cv-02392-BLF
        Case 5:21-cv-02392-BLF Document 76-1 Filed 11/21/22 Page 3 of 4




 1            9.    Attached as Exhibit 1 is a true and correct copy of a page from Nexo’s website
 2   regarding XRP tokens on November 15, 2022.
 3            10.   Attached as Exhibit 2 is a true and correct copy of a page from Nexo’s website
 4   regarding AVAX tokens on November 15, 2022.
 5            11.   Attached as Exhibit 3 is a true and correct copy of a page from Ava Labs’ website
 6   regarding its business on November 15, 2022.
 7            12.   Attached as Exhibit 4 is a true and correct copy of California’s Desist and Refrain
 8   Order.
 9            13.   Attached as Exhibit 5 is a true and correct copy of Kentucky’ Emergency Order to
10   Cease and Desist.
11            14.   Attached as Exhibit 6 is a true and correct copy of Maryland’s Summary Order to
12   Cease and Desist and Order to Show Cause.
13            15.   Attached as Exhibit 7 is a true and correct copy of New York’s Complaint, filed in the
14   Supreme Court of the State of New York, County of New York.
15            16.   Attached as Exhibit 8 is a true and correct copy of Oklahoma’s Order to Cease and
16   Desist and Notice of Opportunity for Hearing.
17            17.   Attached as Exhibit 9 is a true and correct copy of South Carolina’s Order to Cease
18   and Desist.
19            18.   Attached as Exhibit 10 is a true and correct copy of Vermont’s Ex Parte Order to Cease
20   and Desist.
21            19.   Attached as Exhibit 11 is a true and correct copy of Washington’s Statement of
22   Charges and Notice of Intent to Enter Order to Cease and Desist, to Impose Fine, and to Charge
23   Costs.
24            I declare under penalty of perjury under the laws of the United States that the foregoing is
25   true and correct to the best of my knowledge.
26
     Dated: November 21, 2022                     Respectfully Submitted,
27
                                                  FREEDMAN NORMAND FRIEDLAND LLP
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     DECLARATION OF EDWARD NORMAND IN OPPOSITION TO DEFENDANT’S MOTION
                 TO DISMISS AND/OR STRIKE – No. 5:21-cv-02392-BLF
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 1                                    /s/ Edward Normand _
 2                                    Edward Normand

 3                                    Counsel for Plaintiff Junhan Jeong

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     DECLARATION OF EDWARD NORMAND IN OPPOSITION TO DEFENDANT’S MOTION
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